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 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   QUY TRUONG, an individual,             Case No.: 8:19-cv-00430
12              Plaintiff,                  COMPLAINT FOR
13        vs.
                                               (1) VIOLATION OF THE UNRUH
14   SAINT INVESTMENT GROUP, INC., a               CIVIL RIGHTS ACT
     California corporation; and PACIFIC
15   WEST ASSET MANAGEMENT                         (CALIFORNIA CIVIL CODE
     CORPORATION, a California                     §§ 51, 52);
16   corporation;
                                               (2) VIOLATIONS OF THE
17              Defendants.                        AMERICANS WITH
18                                                 DISABILITIES ACT OF 1990

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                                      COMPLAINT
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 1                                               I.
                                              SUMMARY
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 3           1.    This is a civil rights action by plaintiff Quy Truong (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located at 9150 Painter Ave,
 6   Whittier, CA 90602 (APN: 8163-006-047) (the “Property”). Plaintiff lives
 7   approximately 20 minutes from the Property and often frequents the area for dining
 8   and entertainment purposes.
 9           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
10   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
11   12101, et seq.) and related California statutes1 against Defendants, the owner of the
12   Property SAINT INVESTMENT GROUP, INC., a California corporation; and the
13   property manager of the Property, PACIFIC WEST ASSET MANAGEMENT
14   CORPORATION, a California corporation (collectively, “Defendants”).
15
                                                 II.
16                                         JURISDICTION
17
             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
18
     for ADA claims.
19
             4.    Supplemental jurisdiction for claims brought under parallel California
20
     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
21
     1367.
22
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
23
                                                 III.
24
                                                VENUE
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             6.    All actions complained of herein take place within the jurisdiction of the
26
     United States District Court, Central District of California, and venue is invoked
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     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                    1
                                              COMPLAINT
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 1
     pursuant to 28 U.S.C. § 1391(b), (c).
 2
                                                 IV.
 3
                                              PARTIES
 4
           7.       Defendants are or were at the time of the incident, the owner, operator,
 5
     lessor and/or lessee of the Property, and consists of a person (or persons), firm,
 6
     company, and/or corporation.
 7
           8.       Plaintiff suffers from spina bifida and is a paraplegic, and as a result is
 8
     unable to walk or stand, and thus requires a use of a wheelchair at all times when
 9
     traveling in public. Plaintiff is “physically disabled” as defined by all applicable
10
     California and United States laws, and a member of the public whose rights are
11
     protected by these laws. Plaintiff is a resident of Orange County, California.
12
                                                 V.
13
                                                FACTS
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           9.       On January 19, 2019, Plaintiff went to patronize the Property. The
15
     Property is a sales or retail establishment, open to the public, which is intended for
16
     nonresidential use and whose operation affects commerce.
17
           10.      Plaintiff visited the Property and encountered barriers (both physical and
18
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
19
     enjoy the goods, services, privileges and accommodations offered at the facility. To
20
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
21
     to the following:
22
                 a. The access aisle and/or accessible parking spaces have slopes and cross
23
                    slopes that exceed 2.0%, creating excessive sloping. Without a level
24
                    parking space, it becomes difficult for Plaintiff to unload/transfer from
25
                    his vehicle as his wheelchair rolls.
26
                 b. Parking spaces designated as accessible are not properly configured,
27
                    including accessible spaces that are not accompanied by access aisles.
28
                    Without an access aisle that is of sufficient width and length this makes it
                                                      2
                                             COMPLAINT
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 1
                    difficult if not impossible for Plaintiff to transfer in and out of his car
 2
                    from his wheelchair.
 3
                 c. There are abrupt vertical level changes in paths of travels. These abrupt
 4
                    changes are dangerous for Plaintiff as such changes could cause the
 5
                    wheels on his chair to jam.
 6
                 d. There are no accessible pathways connecting the various businesses on
 7
                    the site. Specifically, pathways are too narrow and or steep.
 8
           11.      These barriers to access are listed without prejudice to Plaintiff citing
 9
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
10
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
11
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
12
     Property.
13
           12.      Plaintiff experienced difficulty, discomfort and embarrassment from the
14
     accessible barriers he encountered. Although he would like to visit the Property
15
     again, he continues to be deterred from visiting the Property because of the future
16
     threats of injury created by these barriers. Plaintiff would return to the Property once
17
     the barriers are removed. Plaintiff desires to return to the Property given the
18
     Property’s proximity to Plaintiff’s residence and because he frequents the area to
19
     patronize the stores located on the Property.
20
           13.      Defendants knew that these elements and areas of the Property were
21
     inaccessible, violate state and federal law, and interfere with (or deny) access to the
22
     physically disabled. Moreover, Defendants have the financial resources to remove
23
     these barriers from the Property (without much difficult or expense) and make the
24
     Property accessible to the physically disabled. To date, however, the Defendants
25
     refuses to remove those barriers.
26
           14.      At all relevant times, Defendants have possessed and enjoyed sufficient
27
     control and authority to modify the Property to remove impediments to wheelchair
28
     access and to comply with the Americans with Disabilities Act Accessibility
                                                    3
                                             COMPLAINT
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 1
     Guidelines and Title 24 regulations. Defendants have not removed such impediments
 2
     and has not modified the Property to conform to accessibility standards.
 3
                                               VI.
 4
           FIRSTCAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 5
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 6
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 7
                                     CODE SECTION 51(f)
 8
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 9
     14 for this claim and incorporates them herein.
10
           16.    At all times relevant to this complaint, California Civil Code § 51 has
11
     provided that physically disabled persons are free and equal citizens of the state,
12
     regardless of disability or medical condition:
13
           All persons within the jurisdiction of this state are free and equal, and
14
           no matter what their sex, race, color, religion, ancestry, national
15
           origin, disability, or medical condition are entitled to the full and
16
           equal accommodations, advantages, facilities, privileges, or services
17
           in all business establishments of every kind whatsoever. Cal. Civ.
18
           Code § 51(b).
19
           17.     California Civil Code § 52 provides that the discrimination by
20
     Defendants against Plaintiff on the basis of his disabilities constitutes a violation of
21
     the anti-discrimination provisions of §§ 51 and 52.
22
           18.    Defendants’ discrimination constitutes a separate and distinct violation of
23
     California Civil Code § 52 which provides that:
24
           Whoever denies, aids or incites a denial, or makes any discrimination
25
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
26
           every offense for the actual damages, and any amount that may be
27
           determined by a jury, or a court sitting without a jury, up to a
28
           maximum of three times the amount of actual damage but in no case
                                                  4
                                           COMPLAINT
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 1
           less than four thousand dollars ($4,000) and any attorney’s fees that
 2
           may be determined by the court in addition thereto, suffered by any
 3
           person denied the rights provided in Section 51, 51.5 or 51.6.
 4
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
 5
     upon the existence of the accessible barriers. In addition to the occurrence in January
 6
     2019, Plaintiff is entitled to $4,000.00 in statutory damages for each additional
 7
     occurrence of discrimination under California Civil Code § 52.
 8
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 9
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
10
     thus independently justifying an award of damages and injunctive relief pursuant to
11
     California law. Per § 51(f), “[a] violation of the right of any individual under the
12
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
13
     section.”
14
           21.    The actions and omissions of Defendants as herein alleged constitute a
15
     denial of access to and use of the described public facilities by physically disabled
16
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
17
     result of Defendants’ action and omissions Defendants have discriminated against
18
     Plaintiff in a violation of Civil Code §§ 51 and 51.
19

20
                                              VII.
21
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
22
                  DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
23
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
24
     21 for this claim and incorporates them herein.
25
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
26
     Congress passed “Title III – Public Accommodations and Services Operated by
27
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
28
     entities” which are considered “public accommodations” for purposes of this title,
                                                 5
                                           COMPLAINT
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 1
     which includes any “restaurant, bar, or other sales or rental establishment serving food
 2
     or drink.” § 301(7)(B).
 3
           24.    The ADA states that “[n]o individual shall be discriminated against on
 4
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 5
     privileges, advantages, or accommodations of any place of public accommodation by
 6
     any person who owns, leases, or leases to, or operates a place of public
 7
     accommodation.” 42 U.S.C. § 12182.
 8
           25.    The acts and omissions of Defendants set forth herein were in violation
 9
     of Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28
10
     CFR Part 36 et seq.
11
           26.    On information and belief, Plaintiff alleges that the Property was
12
     constructed after January 26, 1992.
13
           27.    On information and belief, Plaintiff alleges that the removal of each of
14
     the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
15
     mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
16
     noted hereinabove, removal of each and every one of the architectural barriers
17
     complained of herein were also required under California law. Further, on information
18
     and belief, alterations, structural repairs or additions since January 26, 1993 have also
19
     independently triggered requirements for removal of barriers to access for disabled
20
     persons per § 303 of the ADA. In the event that removal of any barrier is found to be
21
     "not readily achievable," Defendants still violated the ADA, per§ 302(b )(2)(A)(v) by
22
     failing to provide all goods, services, privileges, advantages and accommodations
23
     through alternative methods that were readily achievable.
24
           28.    On information and belief, as of the date of Plaintiff’s encounter at the
25
     Property and as of the filing of this Complaint, the Defendants have denied and
26
     continue to deny full and equal access to Plaintiff and to other disabled persons,
27
     including wheelchair users, in other respects, which violate plaintiff's rights to full and
28
     equal access and which discriminate against Plaintiff on the basis of his disability,
                                                  6
                                           COMPLAINT
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 1
     thus wrongfully denying to plaintiff the full and equal enjoyment of the goods,
 2
     services, facilities, privileges, advantages and accommodations, in violation of§§ 302
 3
     and 303 of the ADA. 42 USC§§ 12182 and 12183.
 4
           29.     On information and belief, Defendants have continued to violate the law
 5
     and deny the rights of Plaintiff and other disabled persons to access this public
 6
     accommodation since on or before Plaintiff's encounters, as previously noted.
 7
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 8
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 9
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
10
     in violation of the ADA or has reasonable grounds for believing that he is about to be
11
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
12
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
13
     make such facilities readily accessible to and usable by individuals with disabilities to
14
     the extent required by this title."
15
           30.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
16
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
17
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
18
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
19
     to discrimination on the basis of disability in violation of Title III and who has
20
     reasonable grounds for believing he will be subjected to such discrimination each time
21
     that he may attempt to use the property and premises.
22
                                              PRAYER
23
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
24
     as follows:
25
        1. Issue a preliminary and permanent injunction directing Defendants as current
26
     owners, operators, lessors, and/or lessees of the Property to modify the above
27
     described Property and related facilities so that each provides full and equal access to
28
     all persons, including but not limited to persons with physical disabilities who use
                                                   7
                                            COMPLAINT
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     wheelchairs, and issue a preliminary and permanent injunction directing Defendants to
 2
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
 3
     disabilities, and which provide full and equal access, as required by law, including
 4
     appropriate changes in policy;
 5
        2. Retain jurisdiction over the Defendants until such time as the Court is satisfied
 6
     that Defendants’ unlawful policies, practices, acts and omissions, and maintenance of
 7
     inaccessible public facilities as complained of herein no longer occur, and can not
 8
     recur;
 9
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
10
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
11
     in this case, all according to proof;
12
        4. Award to Plaintiff all appropriate damages, including but not limited to
13
     statutory damages, general damages and treble damages in amounts within the
14
     jurisdiction of this Court, all according to proof;
15
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
16
     costs of this proceeding as provided by law;
17
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
18
     3291;
19
        7. Grant such other and further relief as this Court may deem just and proper.
20

21

22                                           ASCENSION LAW GROUP, PC

23       DATE: March 5, 2019

24                                                      /s/Pamela Tsao

25                                           Pamela Tsao, attorney for Plaintiff

26                                                      QUY TRUONG

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                                              COMPLAINT
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 1                            DEMAND FOR JURY TRIAL
 2
          Plaintiff hereby demands a jury for all claims for which a jury is permitted.
 3

 4

 5                                      ASCENSION LAW GROUP, PC

 6      DATE: March 5, 2019

 7                                            _____/s/ Pamela Tsao

 8                                     Pamela Tsao, attorney for Plaintiff

 9                                                 QUY TRUONG

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                                         COMPLAINT
